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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                ***

6      DELBERT CHARLES COBB,                           Case No. 3:15-cv-00172-MMD-WGC

7                                  Petitioner,                      ORDER
                v.
8
       JO GENTRY, et al.,
9
                               Respondents.
10

11          Petitioner Delbert Charles Cobb has filed an unopposed motion for extension of

12    time (first request). (ECF No. 93.) The Court finds that the motion is made in good faith

13    and not solely for the purpose of delay, and therefore good cause exists to grant the

14    motion.

15          It therefore is ordered that Cobb’s unopposed motion for extension of time (first

16    request) (ECF No. 93) is granted. Cobb will have up to and including November 4, 2021,

17    to respond to the motion to dismiss (ECF No. 85).

18          DATED THIS 6th Day of October 2021.

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                                                 MIRANDA M. DU
21                                               CHIEF UNITED STATES DISTRICT JUDGE

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